                           United States District Court Northern District of Illinois
                           MOTION FOR LEAVE TO APPEAR PRO HAC VICE
 Case Title: T.K., THROUGH HER MOTHER, SHERRI LESHORE, and A.S., THROUGH                                              Plantiff(s)
 HER MOTHER, LAURA LOPEZ, individually and on behalf of all others similarly
 situated,                                          VS.
 BYTEDANCE TECHNOLOGY CO., LTD., MUSICAL.LY, INC., MUSICAL.LY THE
 CAYMAN ISLANDS CORPORATION,and TIKTOK, INC.,                                                                         Defendant(s)


 Case Number: 1:19-cv-07915                                        Judge: Hon. M. David Weisman


 I,                                       Gary E. Mason                                                      hereby apply to the Court

 under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Plaintiffs T.K., through her Mother, Sherri Leshore, and A.S., through her
Mother, Laura Lopez,                                                                                by whom I have been retained.

 I am a member in good standing and eligible to practice before the following courts:
                                                 Title of Court                                                          Date Admitted
Bar of the District of Columbia (Bar No. 418073)                                                                            4/14/1989
Bar of the State of New York (Bar No. 2163467)                                                                              9/28/1988
Bar of the State of Maryland (Bar No. 15033)                                                                                 6/8/2001
U.S. District Court for the District of Columbia                                                                             8/7/1989
U.S. District Court for the District of Maryland                                                                             6/4/2001
U.S. District Court for the Northern District of New York (Bar No. 105875)                                                  11/16/2006
U.S. District Court for the Northern District of Ohio                                                                       11/5/2004
U.S. District Court for the District of Colorado                                                                            3/23/2009
Courts continued on Exhibit A, filed herewith.
 I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
 Court in the following actions:
                                                                                                             Date of Application
      Case Number                                            Case Title                                      (Granted or Denied)*




 *If denied, please explain:
 (Attach additional form if
 necessary)
 Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
 time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
 papers may be made.

                                    Has the applicant designated local counsel?        Yes    X              No

 If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
Has the applicant ever been:
sanctioned, censured, suspended, disbarred, or otherwise disciplined by                                             X
any court?                                                                            Yes                   No


or is the applicant currently the subject of an investigation of the                  Yes                   No      X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes                   No      X
bar of any court?

                                                                                      Yes                   No      X
denied admission to the bar of any court?

                                                                                      Yes                   No      X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


    12/11/2019                                           S/   Gary E. Mason
                 Date                                               Electronic Signature of Applicant

                            Last Name                                 First Name                                     Middle Name/Initial
Applicant’s Name
                                                  Mason                                     Gary                                E.

Applicant’s Law Firm         Whitfield Bryson & Mason LLP

                            Street Address                                                                           Room/Suite Number
Applicant’s Address
                               5101 Wisconsin Avenue NW                                                              Suite 305
                                                                                       Work Phone Number
                            City                        State         ZIP Code                             202-429-2290
                            Washington                   D.C.         20016            Email Address
                                                                                                       gmason@wbmllp.com

(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
      permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
      only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 11/13/2019
                EXHIBIT A
                          Title of Court                       Date Admitted
U.S. District Court for the Western District of New York         10/30/2013
U.S. District Court for the Western District of Pennsylvania       9/8/2016
U.S. Court of Appeals for the D.C. Circuit                         6/1/1989
U.S. Court of Appeals for the 4th Circuit                         7/27/1993
U.S. Court of Appeals for the 6th Circuit                        10/30/2006
U.S. Court of Appeals for the 9th Circuit                          7/5/2011
U.S. Court of Federal Claims                                      2/10/2017
Supreme Court of the United States                                5/14/2001
